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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
DAVID FLOYD, et al.,
                                                                 08 Civ. 1034 (AT)
                          Plaintiffs,

        -against-

THE CITY OF NEW YORK, et al.,

                           Defendants.
------------------------------------------------------X

------------------------------------------------------X

 KELTON DAVIS, et al.,
                                                                  10 Civ. 699 (AT)
                           Plaintiffs,
                                                                  NOTICE OF MOTION
         -against-

 CITY OF NEW YORK, et al.,

                            Defendants.
------------------------------------------------------X

                 PLEASE TAKE NOTICE THAT, upon the accompanying Declaration of Darius

Charney and supporting exhibits and the accompanying Memorandum of Law in support of

Plaintiffs’ Motion to Modify the Floyd Remedial Order, Floyd and Davis Plaintiffs will move

this Court before the Honorable Analisa Torres at the United States Courthouse, 500 Pearl Street

New York, New York, on a date and time to be determined by the Court for an order modifying

the Court’s August 12, 2013 Floyd Remedial Order, Floyd ECF No. 372, as modified by the

Court’s July 30, 2014, Floyd ECF No. 466.

Dated: New York, NY
       July 29, 2021

                                                          \s\Darius Charney
                                                          Darius Charney
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